














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-09-163-CV



Q'SO, INC., AMY ARNOLDT, AND
	
APPELLANTS

FREDRICK ARNOLDT



V.



CAPITAL ONE, N.A.
 	APPELLEE

 
	

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FROM THE 342ND DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellants’ Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL: &nbsp;MEIER, LIVINGSTON, and WALKER, JJ.



DELIVERED: &nbsp;June 18, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




